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                                                                                        FILED
                                                                                       U.S. DISTRICT COURT
                                                                                   EASTERN DISTRICT ARKANSAS
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS                               NOV 0 3 2016
                                   JONESBORO DIVISION

JIMMY ASHLEY,
an individual,

       Plaintiff,
                                                      CASE NO:
vs.

PAPITOS LOCO MEXICAN RESTAURANT, INC

       Defendant.                                       This case assigned to District Judge                 &;
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                                                        and to fv,ag1strate Judge
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                                                                                                   - t«ai.s
                                          COMPLAINT

       Plaintiff, Jimmy Ashley ("Plaintiff') by and through the undersigned counsel, hereby files this

Complaint and sues PAPITOS LOCO MEXICAN RESTAURANT, INC. for injunctive relief,

attorney's fees and costs pursuant to 42U.S.C.§12181 et seq., ("Americans with Disabilities Act" or

"ADA") and alleges:

                                JURISDICTION AND PARTIES

       1.       This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter referred to as the "ADA").

This Court is vested with originaljurisdiction under 28 U.S.C. Sections 1331and1343.

       2.       Venue is proper in this Court, the Eastern District of Arkansas pursuant to 28 U.S.C.

§1391 (B) and Local Rules of the United States District Court for the Eastern District of Arkansas.

       3.       Plaintiff,   Jimmy   Ashley    (hereinafter   referred   to   as     "Ashley")      1s        a

resident of Jonesboro, Arkansas and is a qualified individual with a disability under the ADA. Ashley

suffers from what constitutes a "qualified disability" under the Americans with Disabilities Act of

1990, ("ADA") and all other applicable Federal statutes and regulations to the extent that he suffers
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from paraplegia and requires the use of a wheelchair for mobility. Prior to instituting the instant

action, Ashley visited the Defendant's premises at issue in this matter, and was denied full, safe and

equal access to the subject property of Defendant due to its lack of compliance with the ADA.

Ashley continues to desire and intends to visit the Defendant's premises but continues to be denied

full, safe and equal access due to the barriers to access that continue to exist.

       4.        The Defendant, PAPITOS LOCO MEXICAN RESTAURANT, INC. is a domestic

corporation registered to do business and, in fact, conducting business in the State of Arkansas.

Upon information and belief, PAPITOS LOCO MEXICAN RESTAURANT, INC. (hereinafter

referred to as "Papitos") is the owner, lessee and/or operator of the real property and improvements

that is the subject of this action, specifically: Papitos Loco Mexican Restaurant located at 4409 East

Johnson in Jonesboro, Arkansas (hereinafter referred to as "Restaurant").

       5.        All events giving rise to this lawsuit occurred in the Eastern District of Arkansas.

                             COUNT I - VIOLATION OF THE ADA

       6.        On or about July 26, 1990, Congress enacted the Americans with Disabilities Act

("ADA"), 42 U.S.C. §12101 et seq. Commercial enterprises were provided one and a half years from

enactment of the statute to implement its requirements. The effective date of Title III of the ADA

was January 26, 1992. 42 U.S.C. §12181; 20 C.F.R. §36.508 (A).

       7.        Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Restaurant owned by

Papitos is a place of public accommodation in that it is restaurant operated by a private entity that

provides goods and services to the public.

        8.       Defendant, Papitos, has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe and equal


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enjoyment of goods, services, facilities, privileges, advantages and/or accommodations at the

Restaurant in derogation of 42 U.S.C §12101 et seq.

        9.       The Plaintiff has been unable to and continues to be unable to enjoy access to, and the

benefits of the services offered at Restaurant owned by Papitos. Prior to the filing ohhis lawsuit,

Plaintiff visited the Restaurant at issue in this lawsuit and was denied access to the benefits,

accommodations and services of the Defendant's premises and therefore suffered an injury in fact as a

result of the barriers listed in Paragraph 11, below, that the Plaintiff personally encountered.

Specifically, Plaintiff was not able to sit at the bar due to the failure to provide wheelchair accessible

seating positions at the bar. In addition, Plaintiff continues to desire and intends to visit the

Restaurant, but continues to be injured in that he is unable to and continues to be discriminated

against due to the barriers to access which remain at the Restaurant in violation of the ADA. Ashley

has now and continues to have reasonable grounds for believing that he has been and will be

discriminated against because of the Defendant's continuing deliberate and knowing violations ofthe

ADA.

        10.      Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department

of Justice, Office of the Attorney General, promulgated Federal Regulations to implement the

requirements of the ADA 28 C.F.R. Part 36.

        11.      Papitos is in violation of 42 U.S.C. § 12181, et seq,. 28 C.F.R. §36.304 and 28 C.F.R.

§36.401, et seq. and is discriminating against the Plaintiff as a result of inter alia, the following

specific violations:

                 I.     There are no wheelchair accessible seating positions provided at the bar;

                 11.    The force required to open the men's restroom entry door is too great for a
                        wheel chair user;

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                m.      There is no accessible signage at the men's restroom.

        13.     Defendant newly constructed the Restaurant after March 15, 2012, and has failed to

comply with the new construction accessible seating requirements of Sections 226.1, 305, 306 and

902 of the current ADA Standards as codified at 36 C.F.R. Part 1191, Appendices Band D.

        14.     There are other current barriers to access and violations of the ADA at the Restaurant

owned and operated by Papitos that were not specifically identified herein as the Plaintiff is not

required to engage in a futile gesture pursuant to 28 C.F.R. Part 36, §36.501 and, as such, only once

a full inspection is performed by Plaintiff or Plaintiff's representatives can all said violations be

identified.

        15.     To date, the barriers to access and other violations of the ADA still exist and have not

been remedied or altered in such a way as to effectuate compliance with the provisions of the ADA.

        16.     Plaintiff has been obligated to retain undersigned counsel for the filing and prosecution

ofthis action. Plaintiff is entitled to have his reasonable attorney's fees, costs and expenses paid by

Papitos pursuant to 42 U.S.C. §12205.

        17.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

Plaintiff's injunctive relief, including an Order to alter the subject facilities to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA, and

closing the subject facilities until the requisite modifications are completed.

        WHEREFORE, the Plaintiff demands judgment against Papitos, and requests the following

injunctive and declaratory relief:

                A.      That the Court declare that the property owned and administered by
                        Defendant is violative of the ADA;

                B.      That the Court enter an Order directing Defendant to alter its facilities

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                         to make them accessible to and useable by individuals with disabilities
                         to the full extent required by Title III of the ADA;

             C.          That the Court enter an Order directing Defendant to evaluate and
                         neutralize its policies and procedures towards persons with disabilities
                         for such reasonable time so as to allow them to undertake and complete
                         corrective procedures;

             D.          That the Court award reasonable attorney's fees, costs (including expert
                         fees) and other expenses of suit, to the Plaintiff; and

             E.          That the Court award such other and further relief as it deems
                         necessary, just and proper.
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      Dated this   1\    day of October, 2016.



                                        Respectfully submitted,



                                        By:~
                                                 Edward I.
                                                 Bar No.:


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